           Case 5:08-cv-05519-JF Document 11 Filed 03/13/09 Page 1 of 2



     SPENCER HOSIE (CA Bar No. 101777)
 1
     shosie@hosielaw.com
 2   BRUCE WECKER (CA Bar No. 078530)
     bwecker@hosielaw.com
 3   GEORGE F. BISHOP (CA Bar No. 89205)
     gbishop@hosielaw.com
 4   HOSIE RICE LLP
     188 The Embarcadero, Suite 750
 5
     San Francisco, CA 94105
 6   (415) 247-6000 Tel.
     (415) 247-6001 Fax
 7
   ROBERT J. YORIO (CA Bar No. 93178)
 8 yorio@carrferrell.com
   CHRISTOPHER P. GREWE (CA Bar No. 245938)
 9 cgrewe@carrferrell.com
10 CARR & FERRELL LLP
   2200 Geng Road
11 Palo Alto, CA 94303
   (650) 812-3400 Tel.
12 (650) 812-3444 Fax
13 Attorneys for Plaintiff
   CLOAKWORKS, INC.
14
                           UNITED STATES DISTRICT COURT
15                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                            SAN FRANCISCO DIVISION

17 CLOAKWORKS, INC.
                                              Case No. CV 08-5519 JF
18                 Plaintiff,

19 v.
                                              NOTICE OF VOLUNTARY
20 ARXAN TECHNOLOGIES, INC., AND              DISMISSAL
   ARXAN DEFENSE SYSTEMS, INC.,
21
             Defendants.
22
23
24
25
26
27
28


     NOTICE OF VOLUNTARY DISMISSAL                          CASE NO. CV 08-5519 JF
           Case 5:08-cv-05519-JF Document 11 Filed 03/13/09 Page 2 of 2



            NOTICE IS HEREBY GIVEN that pursuant to Fed.R.Civ.Pro. 41(a), plaintiff
 1
 2 voluntarily dismisses the above-captioned action with prejudice.
 3
     Dated: March 13, 2009                      Respectfully submitted,
 4
 5
 6                                              _/s/ George F. Bishop_________________
                                                SPENCER HOSIE (CA Bar No. 101777)
 7                                              shosie@hosielaw.com
                                                BRUCE WECKER (CA Bar No. 078530)
 8                                              bwecker@hosielaw.com
 9                                              GEORGE F. BISHOP (CA Bar No. 89205)
                                                gbishop@hosielaw.com
10                                              HOSIE RICE LLP
                                                188 The Embarcadero, Suite 750
11                                              San Francisco, CA 94105
                                                (415) 247-6000 Tel.
12                                              (415) 247-6001 Fax
13
                                                ROBERT J. YORIO (CA Bar No. 93178)
14                                              yorio@carrferrell.com
                                                CHRISTOPHER P. GREWE (CA Bar No.
15                                              245938)
                                                cgrewe@carrferrell.com
16                                              CARR & FERRELL LLP
                                                2200 Geng Road
17                                              Palo Alto, CA 94303
                                                (650) 812-3400 Tel.
18                                              (650) 812-3444 Fax
19                                              Attorneys for Plaintiff
20                                              CLOAKWORKS, INC.

21
22
23
24
25
26
27
28

     NOTICE OF VOLUNTARY DISMISSAL              1                         CASE NO. CV 08-5519 JF
